Case 2:18-cr-OOO48-LGW-BWC Document 155 Filed 03/29/19 Page 1 of 1
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NOT|CE TO COUNSE`_L

 

Before proceeding with the scheduled motions hearing in this oase, the Court directs counsel for the parties
to answer the foiiowing inquires

'i. Have ali of your pretrial motions been satisfied or otherwise resolved?
2. Piease iist any unresoived motions Which required o riding by the court and indicate Whether argument

is requested and/or whether an evidentiary hearing is required Any motion which is not listed will
-' be dismissed as moot.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       

 

 

 

3. if a hearing is not required, piease indicate so and return

t Evidentiagy

;‘ Nature of Motion Argument _ri@_y_i_!_}g

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Si§nature of Att%ryiey \h, ' Counsei for:

 

BY DlRECTION OF THE COURT: §-FILE this dooument on or before noon, _MX¢. ig 126/163 '
t l f 1 7

"Kim Mixon '

Courtroo`m Deputy Cierk
801 Gloucester Street
Brunswick, Georgia 31521

 

